              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE




UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       No. 3:06-CR-123
                                              )
DOUGLAS TROY THOMPSON and                     )
RANDALL THOMPSON                              )


                          MEMORANDUM AND ORDER


              This criminal case is before the court on the motion of defendant

Randall Thompson for a continuance of the trial [doc. 48]. The defendant says

that additional time is necessary to prepare for trial because there are issues

involving his co-defendant’s activities outside the United States which need to be

investigated. Neither the co-defendant nor the government have any objection to

the motion.

              The court finds the defendant’s motion well-taken, and it will be

granted. The court finds that the ends of justice served by granting the motion

outweigh the best interest of the defendant and the public in a speedy trial. 18

U.S.C. § 3161(h)(8)(A). The failure to grant the motion would deny counsel for

the defendant reasonable time to effectively prepare for trial. 18 U.S.C. §

3161(h)(8)(B)(iv). Therefore, all the time from the filing of the motion to the new




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trial date is excludable time within the meaning of the Speedy Trial Act. 18

U.S.C. § 3161(h)(8)(A).

            It is hereby ORDERED that the defendant’s motion for a continuance

is GRANTED, and the trial of this criminal case is CONTINUED to June 26,

2007, at 9:00 a.m.



                                             ENTER:



                                                    s/ Leon Jordan
                                             United States District Judge




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